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                             UNITED STATES DISTRICT COURT
                              DISTRICT OF MASSACHUSETTS


FOUR WOMEN HEALTH SERVICES, LLC,

                        Plaintiff,

v.                                                                    24-12283
                                                    Civil Action No. ____________

ABUNDANT HOPE PREGNANCY
RESOURCE CENTER INC., d/b/a
ATTLEBORO WOMEN’S HEALTH CENTER,
CATHERINE ROMAN, NICOLE CARGES,
and DARLENE HOWARD,


                        Defendants.


                 PLAINTIFF’S MEMORANDUM OF LAW IN SUPPORT OF
                   ITS MOTION FOR A PRELIMINARY INJUNCTION

         Plaintiff Four Women Health Services, LLC (“Four Women”) brings this action against

Defendant Abundant Hope Pregnancy Resource Center Inc., d/b/a Attleboro Women’s Health

Center (“AWHC”), Catherine Roman, Nicole Carges, and Darlene Howard (collectively,

“Defendants”) to stop Defendants’ unlawful practices of interfering with patients1 seeking to

obtain reproductive healthcare services at Four Women. Defendants have breached Four Women’s

electronic platforms to access confidential patient-client communications and the personally

identifying information therein. Defendants then used the intercepted communications to contact

Four Women patients directly for the purpose of preventing them from accessing lawful

reproductive healthcare.

         To prevent further harm to Four Women and its patients, Four Women requests that this

Court issue a preliminary injunction as set forth in Four Women’s Proposed Order, attached hereto

as Exhibit A, requiring Defendants to cease and refrain from infiltrating Four Women’s electronic


1
    As used herein, “patients” encompasses both existing and prospective Four Women patients.

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platforms, intercepting communications between Four Women and its patients, and using

unlawfully obtained information to contact such patients.       Four Women seeks preliminary

injunctive relief in connection with three of the five claims it asserts against Defendants: (1)

violation of the Computer Fraud and Abuse Act, 18 U.S.C. § 1030 (“CFAA”) (Count I); (2)

violation of the Electronic Communications Privacy Act, 18 U.S.C. § 2510, et seq. (“Federal

Wiretap Act”) (Count II); and (3) violation of the Massachusetts wiretap statute, M.G.L. c. 272, §

99 (“Massachusetts Wiretap Act”) (Count III).

       Four Women also files herewith a Motion for Limited Expedited Discovery. As explained

in detail in Four Women’s memorandum of law in support of that motion, expedited discovery is

not necessary for the Court to resolve Four Women’s motion for a preliminary injunction—no

further discovery is needed to demonstrate that Defendants have accessed Four Women’s

electronic systems and unlawfully intercepted Four Women’s communications. But Four Women

submits that narrow, targeted expedited discovery is necessary and appropriate both to ensure that

any injunctive relief granted fully addresses the scope of Defendants’ conduct and to permit Four

Women to address and remedy any additional incidents compromising its patients’ information.

                                  STATEMENT OF FACTS

  I.   The Parties

       Founded in 1998, Four Women is a licensed clinic and ambulatory surgical center in

Attleboro, Massachusetts that provides comprehensive gynecological care. Complaint (“Compl.”)

¶¶ 14, 23-24. Four Women provides a range of reproductive healthcare services, including birth

control services, ultrasounds, and abortion care, and serves primarily low-income communities.

Id. ¶¶ 24-25. It is one of only three reproductive healthcare clinics that provide abortion care in

southeastern Massachusetts, and the only one offering surgical abortion services. Id. ¶ 24. Since

April 2003, Four Women has maintained a fully licensed surgery center with experienced staff,


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including licensed medical doctors, nurses, and medical assistants. Id.

       Directly next-door to Four Women is AWHC. Id. ¶¶ 53-54. AWHC is not a licensed

medical facility. Id. ¶ 26. AWHC’s mission is to prevent women from obtaining reproductive

healthcare, especially abortion care. Id. ¶ 4. On its website, AWHC advertises that it provides

“medical appointments” to women, such as pregnancy testing, ultrasounds, and diagnosing

pregnancies. Id. ¶¶ 25, 38. AWHC, however, cannot lawfully provide ultrasounds, gynecological

care, or any of the other medical services it advertises on its website. Id. ¶¶ 6, 26.

       AWHC’s website, name, and physical proximity to Four Women mislead women seeking

reproductive healthcare services to make appointments with AWHC, believing they are making

appointments at Four Women. Id. ¶¶ 55-57. For example, when women contact AWHC seeking

abortion services, they are not informed that AWHC does not provide abortions; they are instead

given appointments at AWHC. Id. ¶ 58. When women inadvertently enter AWHC for their Four

Women appointments, they are not informed that they are in the wrong place. Id. ¶ 63. They are

instead led through intake and ultrasound procedures, under the pretense that the process is a

necessary prerequisite for their Four Women appointment. Id. ¶¶ 64-73.

       AWHC’s tactics to delay women seeking reproductive healthcare can have grave

consequences. AWHC directs women seeking abortions to first “confirm their pregnancy is

viable” with an ultrasound. Id. ¶ 44. AWHC also falsely conveys that “confirming” a pregnancy

is necessary because abortion is dangerous for women with ectopic pregnancies or sexually

transmitted infections. Id. ¶¶ 47-48. These barriers are not rooted in medical necessity or

supported by medical standards of care. Id. ¶¶ 49-51. Quite the opposite; their purpose and

effect—delaying women seeking abortion care—not only puts a woman’s ability to receive such

care in jeopardy but also puts women in serious medical danger. Id. ¶¶ 45, 49-51.




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 II.   Four Women’s Confidential Patient-Client Communications System

       To make appointments to receive reproductive healthcare at Four Women, many patients

schedule appointments online. Compl. ¶ 92. To that end, Four Women’s website contains a widget

through which patients can make appointments or send messages to Four Women staff. Id. ¶ 93.

The widget is hosted by and connects to a platform managed by a third-party vendor, Klara

Technologies, Inc. (“Klara”), which facilitates secure patient messaging. Affidavit of Robert

Knapp (“Knapp Aff.”) ¶¶ 17-18. When patients book appointments using Four Women’s website,

they do so using the Klara platform. Id. ¶¶ 19-20. When patients send electronic messages to Four

Women, they do so using the Klara widget. Id.        Four Women staff can respond using Four

Women’s Klara page, which is accessible via computer or mobile device by any user with access

to a web browser and the login credentials. Id. ¶ 21; Compl. ¶ 96.

       Appointment information—including the patient’s name, phone number, and appointment

type—is uploaded to Athenahealth, Inc. (“Athena”) immediately after booking. Knapp Aff. ¶ 23.

Athena is a third-party electronic health record system that Four Women uses to manage patient

health records and information. Id. The Athena platform stores patient records, appointments,

and information; Four Women’s patient visitation schedule resides on the Athena platform. Id. ¶¶

25, 27. Both Klara and Athena are cloud-based “software as a service” providers, meaning that

their platforms host and manage the information stored in Four Women’s account. Id. ¶¶ 18, 24.

III.   AWHC’s Repeated Hacking into Four Women’s Confidential Patient-Client
       Communications Systems and Direct Contact with Four Women Patients

       On multiple occasions over the past year, AWHC has called prospective Four Women

patients directly on their cell phones either during or shortly after these patients were
communicating with Four Women to schedule appointments. Compl. ¶ 7. Four Women provides

the following four examples of such incidents.




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               1.      Jane Doe 52

       On or about 1:25 p.m. on October 30, 2023, Jane Doe 5 contacted Four Women via Klara

seeking to schedule an ultrasound after testing positive on a home pregnancy test. Declaration of

Emily Nash (“Nash Decl.”) Ex. A (Jane Doe 5 screen shot of Klara messages). Through electronic

messaging, facilitated by Klara, Four Women staff communicated with Jane Doe 5 about

scheduling an appointment. Id. At 1:40 p.m., Four Women wrote: “We have appointments on

Wednesday, Thursday or Friday this week.” Id. At 1:55 p.m., just fifteen minutes later, Jane Doe

5 responded: “I received a call from someone at your office and I scheduled an appointment for

Thursday morning at 9:15.” Id.

       Four Women had not called Jane Doe 5. Id. Four Women informed Jane Doe 5 that no

one in its office had called her, and that Four Women does not see patients on Thursday mornings.

Id. Jane Doe 5 sent Four Women the text confirmation she received for her Thursday morning

appointment; it stated that the appointment was with AWHC. Id. Jane Doe 5 had never contacted

or communicated with AWHC before October 30, 2023. Id. (Jane Doe 5 stating she had only

provided contact information on one other website: carafem.com); Compl. ¶ 107.

               2.      Jane Doe 6

       On or about May 1, 2024, at 9:05 a.m., Jane Doe 6 contacted Four Women to schedule an

appointment. Nash Decl. Ex. B (Jane Doe 6 screen shot of Klara messages). Four Women

responded via Klara by asking what method of abortion—medication or surgery—Jane Doe 6

sought. Id. At 9:08 a.m., Jane Doe 6 responded: “medication.” Id. Jane Doe 6 and Four Women

continued messaging via Klara to schedule that appointment for three days later. Id. At 10:09



2
 Four Women patients are referred to herein using pseudonyms. See Doe v. Bell Atl. Bus. Sys.
Servs., Inc., 162 F.R.D. 418, 420 (D. Mass. 1995) (courts permit the utilization of pseudonyms for
parties “in cases involving social stigmatization [or] real danger of physical harm . . . . Cases in
which parties are allowed to proceed anonymously because of privacy interests often involve
abortion.”).


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a.m., Four Women sent Jane Doe 6 a link on Klara that she could use to upload insurance

information. Id.

        At 10:11 a.m., two minutes later, Jane Doe 6 received a call from the phone number (508)

455-0172, which is AWHC’s phone number. See id. Ex. C (Jane Doe 6 screen shot of call); id.

Ex. D (Jane Doe 6 complaint form). Jane Doe 6 answered the call. See id. Ex. D. During the call,

AWHC indicated that it was the entity with which Jane Doe 6 had made an appointment. Id.

AWHC stated it had received her online request for an appointment and that she was required to

undergo an ultrasound at AWHC prior to the medication abortion to verify the pregnancy and see

if it was viable. Id.

                3.      Jane Doe 7

        On or around August 31, 2023, Jane Doe 7 contacted Four Women to schedule an

appointment for birth control. Id. Ex. E (Jane Doe 7 screen shot of Klara messages). Minutes after

booking an appointment with Four Women, Jane Doe 7 received a call from AWHC. Id. During

the call, AWHC personnel stated that it could not provide her with birth control and instead invited

her to a diaper give-away. Id. AWHC deceived Jane Doe 7 to believe that she was speaking with

Four Women and not AWHC. Id. At the end of the call, Jane Doe 7 believed that her appointment

with Four Women had been canceled. Id.

                4.      Jane Doe 8

        On or around May 6, 2024, Jane Doe 8 messaged Four Women using its online platform,

operated by Klara, and made an appointment for a medication abortion. Id. Ex. F (Jane Doe 8

screen shot of Klara messages). On the day of her appointment, AWHC called Jane Doe 8 on her

cell phone. Id. Ex. G (Jane Doe 8 complaint form). Jane Doe 8 had never previously contacted

AWHC and does not know how AWHC obtained her contact information. Id.

        The experiences of Jane Does 5-8 indicate that AWHC is hacking into and obtaining


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information from Four Women’s Klara and/or Athena platforms. See Knapp Aff. ¶ 28.



                                           ARGUMENT

       To obtain a preliminary injunction, a plaintiff must show that (1) it is likely to succeed on

the merits of its claims; (2) it is likely to suffer irreparable harm if the injunction is not granted;

(3) the balance of equities weighs in the plaintiff’s favor; and (4) the injunction serves the public

interest. Arborjet, Inc. v. Rainbow Treecare Sci. Advancements, 794 F.3d 168, 171 (1st Cir. 2015).

“The first of these four factors normally weighs heaviest in the decisional scales.” Coquico, Inc.

v. Rodriguez-Miranda, 562 F.3d 62, 66 (1st Cir. 2009). Here, all four factors weigh in favor of

granting Four Women’s motion for a preliminary injunction.

IV.    Four Women Is Likely to Succeed on the Merits of Its Claims.

       Four Women seeks preliminary injunctive relief in connection with three of the five claims

it asserts against Defendants: (1) violation of the CFAA (Count I); (2) violation of the Federal

Wiretap Act (Count II); and (3) violation of the Massachusetts Wiretap Act (Count III).

       Four Women is likely to succeed on the merits of all three claims. AWHC called each of

the Jane Doe patients identified herein only after the patients had initiated communication with

Four Women to make appointments for reproductive healthcare services.                  This is not a

coincidence. There is no lawful mechanism by which AWHC could have obtained these patients’

names and contact information as they were communicating with Four Women. Rather, AWHC’s

pattern of outreach to Four Women patients could only be the result of AWHC’s unauthorized

access to Four Women’s communication platforms and interception of its communications with

patients, most likely through infiltration of Four Women’s Klara or Athena accounts. These facts

satisfy each claim at issue.




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               1.      AWHC’s Interception of Four Women’s Messages with Patients and
                       Use of Information Therein Violates the CFAA.

       A defendant is liable under the CFAA if the defendant “intentionally accesses a computer

without authorization or exceeds authorized access, and thereby obtains information from any

protected computer.” 18 U.S.C. § 1030(a)(2)(C). Four Women brings its CFAA claim on the

basis that AWHC’s unauthorized access resulted in “the modification or impairment, or potential

modification or impairment, of the medical examination, diagnosis, treatment, or care of one or

more individuals.”3 18 U.S.C. §§ 1030(g) & 1030(c)(4)(A)(i)(II); see Wofse v. Horn, 523 F. Supp.

3d 122, 138 (D. Mass. 2021) (explaining that Subclause (II) does not require a showing of “damage

or loss” and is not limited to economic damages). AWHC’s interception of Four Women’s

communications with the four Jane Does identified herein, likely through Four Women’s accounts

on its Klara or Athena platforms, satisfies each of these elements.

                       a)     Defendants Accessed and Obtained Information from a
                              Protected Computer.

       The CFAA defines “protected computer” as any computer “which is used in or affecting

interstate or foreign commerce or communication.” 18 U.S.C. § 1030(e)(2)(B). As courts in the

First Circuit have recognized, “[a]ny computer with internet access is covered by the statute

because the internet is an instrumentality of interstate commerce.” T.H. Glennon Co. v. Monday,

No. 18-30120-WGY, 2020 U.S. Dist. LEXIS 45917, at *26 (D. Mass. Mar. 17, 2020) (internal

quotation marks omitted); see Philips Med. Sys. P.R. v. Alpha Biomedical & Diagnostic Corp.,




3
  This memorandum focuses on Subclause (II) in support of its request for injunctive relief, but as
Four Women has also asserted in its Complaint, AWHC’s unauthorized access to Four Women’s
computer system also resulted in Four Women accruing costs responding to the offense and lost
revenue and other consequential damages exceeding $5,000. Compl. ¶ __; see 18 U.S.C. §§
1030(g) & 1030(c)(4)(A)(i)(I).

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C.A. No. 19-1488CCC, 2020 U.S. Dist. LEXIS 16351, at *7 (D.P.R. Jan. 29, 2020).4 Four

Women’s Klara and Athena databases exist on the “Cloud,” an Internet-based network. Knapp

Aff. ¶¶ 18, 24. That Internet connection allows Four Women’s Klara and Athena databases to be

accessed by Four Women’s network-connected computers and phones. See id. Defendants’

unauthorized access to Four Women’s account on the Klara or Athena platforms constitutes access

to a protected computer. See T.H. Glennon, 2020 U.S. Dist. LEXIS 45917, at *32 (finding

unauthorized access to Cloud-based database constituted access to a “protected computer”).

                      b)      Defendants Lacked Authorization to Access Four Women’s
                              Platforms.

       It is beyond doubt that Defendants were not authorized to access Four Women’s Klara or

Athena platforms. Although the CFAA does not define “without authorization,” courts interpret

the term to mean lacking “permission to access the computer system.” T.H. Glennon, 2020 U.S.

Dist. LEXIS 45917, at *27; see also United States v. Thomas, 877 F.3d 591, 598 (5th Cir. 2017);

Nosal, 844 F.3d at 1028. Here, there is no question that Defendants—who are neither employees

nor patients—did not have authorization to access Four Women’s confidential patient

communications and records. And this is particularly true given that AWHC’s mission is to

prevent women from obtaining abortion care and Four Women’s whose mission is to ensure all

women have access to high quality reproductive healthcare, including abortions. See Compl. ¶¶

4, 24. Discovery is likely to elucidate how Defendants gained unauthorized access to Four

Women’s Klara or Athena accounts—whether through malware or misusing an existing Four

Women employee’s Klara or Athena account—but in either case, such access was “without

authorization.”


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  This interpretation of the CFAA is also maintained by other Circuits. See, e.g., United States v.
Nosal, 844 F.3d 1024, 1050-51 n.3 (9th Cir. 2016); United States v. Trotter, 478 F.3d 918, 921
(8th Cir. 2007).

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                      c)     Defendants Intentionally Accessed Four Women’s Platforms
                             and Obtained Information.

       Defendants intentionally accessed Four Women’s Klara or Athena database and obtained

information therefrom. The CFAA “does not seek to punish those who inadvertently stumble into

someone else’s computer file or computer data.” Phillips Med. Sys. P.R. v. GIS Partners Corp.,

203 F. Supp. 3d 221, 232 (D.P.R. 2016) (internal quotation marks omitted). Here, there is little

doubt—and discovery is likely to corroborate—that AWHC did not “inadvertently stumble” into

Four Women’s Klara or Athena database. Rather, the facts now in Four Women’s possession

demonstrate that Defendants accessed Four Women’s Klara or Athena platform with the intent to

gain the information necessary to thwart the efforts of prospective Four Women patients trying to

make appointments at Four Women.

       With each of the Jane Doe patients identified here, AWHC took quick action using its

unlawfully obtained information. For example, minutes after intercepting Jane Doe 5’s message

seeking an ultrasound appointment at Four Women, AWHC called Jane Doe 5 in an attempt to

deceive Jane Doe 5 and misdirect her to AWHC for her appointment. Nash Decl. Ex. A. Likewise,

within minutes of intercepting Jane Doe 6’s efforts to schedule a medication abortion at Four

Women, AWHC called Jane Doe 6, stating that it had received her online request for an

appointment and directing her to visit AWHC first, before Four Women, for an ultrasound. Id.

Exs. B-D. And, within minutes of intercepting Jane Doe 7’s efforts to make an appointment with

Four Women for birth control, AWHC called Jane Doe 7, purporting to cancel her birth control

appointment and inviting her to a diaper give-away. Id. Ex. E. Finally, having intercepted Jane

Doe 8’s messages confirming the date of her appointment for a medication abortion, AWHC called

Jane Doe 8 on that very same date. Id. Exs. F & G. These interceptions were not inadvertent.




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                      d)      Defendants’ Unauthorized Access Resulted in the Modification
                              or Impairment, or Potential Modification or Impairment, of the
                              Medical Examination, Diagnosis, Treatment, or Care of
                              Multiple Women Seeking Reproductive Healthcare Services.

       Defendants’ unauthorized access to Four Women’s Klara or Athena database violates

Subclause (II) of the CFAA, as it resulted in the modification or impairment, or potential

modification or impairment, of the medical examination, diagnosis, treatment, or care of multiple

women seeking reproductive healthcare services. The CFAA does not define the terms in

Subclause (II), but the cases addressing them “have interpreted the Subclause by the plain meaning

of its terms.” Hains v. Adams, No. 3:19-cv-504 (DJN), 2019 U.S. Dist. LEXIS 196113, at *23

(E.D. Va. Nov. 12, 2019). Here, the very purpose of AWHC’s unauthorized access was to modify

or impair the reproductive healthcare sought by Four Women patients.

       AWHC’s outreach to the Jane Doe patients, for example, involved attempts to misdirect

patients so that they would fail to show up to their intended Four Women appointments. As Jane

Doe 5 messaged Four Women via Klara to schedule an ultrasound, AWHC called her purporting

to be Four Women, in an attempt to divert her efforts to make the intended appointment with Four

Women. Nash Decl. Ex. A. Similarly, when AWHC called Jane Doe 7 just minutes after booking

an appointment for birth control with Four Women, AWHC deceived Jane Doe 7 into believing

that she was speaking with Four Women when AWHC stated that it could not provide her with

birth control and invited her to a diaper give-away. Id. Ex. E. At the end of the call, Jane Doe 7

believed that her appointment with Four Women had been canceled. Id. In both cases, AWHC

attempted to intervene and prevent the patient from receiving her intended medical care.

       AWHC’s repeated attempts to divert these women from getting the healthcare they sought

has dangerous implications. For example, on the call with Jane Doe 6, AWHC stated that it had

received Jane Doe 6’s online request for an appointment, but that she was required to undergo an



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ultrasound prior to the medication abortion to verify the pregnancy and see if it was “viable.” Id.

Ex. D. Such statements contradict medical advice and reproductive healthcare standards of care:

there is no requirement that providers or patients determine the “viability” of a pregnancy before

commencing medication abortion. Compl. ¶ 42.           Indeed, for certain pregnancies that are not

“viable,” such as ectopic pregnancies, termination procedures are necessary, and failure to

terminate—or even delay in terminating—an ectopic pregnancy can cause grave, even fatal harm

to women. Id. ¶¶ 49-51.

               2.      AWHC’s Interception of Four Women’s Messages with Patients
                       Violates the Federal Wiretap Act and the Massachusetts Wiretap Act.

       The Federal Wiretap Act “creates a private right of action against one who ‘intentionally

intercepts, endeavors to intercept, or procures another person to intercept or endeavor to intercept’”

the contents of an electronic communication using a device. Blumofe v. Pharmatrak, Inc. (In re

Pharmatrak, Inc. Privacy Litig.), 329 F.3d 9, 18 (1st Cir. 2003) (quoting 18 U.S.C. § 2511(1)(a));

see 18 U.S.C. § 2520.       As the Massachusetts Supreme Judicial Court has explained, the

Massachusetts Wiretap Act “in major portion matches section for section the provisions of the

Federal statute regulating interception of wire and oral communications.” O’Sullivan v. NYNEX

Corp., 426 Mass. 261, 264 n.5 (Mass. 1997) (quoting Commonwealth v. Vitello, 367 Mass. 224,

251 (1975)). Massachusetts courts thus construe the Massachusetts statute in accordance with the

construction federal courts apply to the Federal Wiretap Act. Id. Accordingly, Plaintiff discusses

the two Wiretap statutes together here, noting any divergences as applicable.

       Each interception by AWHC constitutes a separate wiretap violation. As Jane Does 5-8

illustrate, AWHC intentionally intercepted patients’ electronic communications with Four Women

for the purpose of obtaining names, phone numbers, and appointment requests, and ultimately to

contact the patient and prevent her from accessing reproductive healthcare at Four Women.



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                       a)     The  Messages    Intercepted    by    Defendants               Were
                              Communications Covered by the Wiretap Acts.

       The electronic communications intercepted here are protected by both statutes. The

Federal Wiretap Ac’s definition of “electronic communication” is “broad” and “functional.”

Blumofe, 329 F.3d at 18. It includes “any transfer of signs, signals, writing, images, sounds, data,

or intelligence of any nature transmitted in whole or in part by a wire, radio, electromagnetic,

photoelectric, or photooptical system that affects interstate or foreign commerce.” 18 U.S.C. §

2510(12). “[T]he Massachusetts wiretap statute is as protective as the amended Federal wiretap

statute.” Commonwealth v. Moody, 466 Mass. 196, 207 (2013); see M.G.L. c. 272, § 99(B)(1)

(defining “wire communication”). Courts have construed both statutes as applying to text

messages. See, e.g., United States v. Jones, 451 F. Supp. 2d 71, 75 (D.D.C. 2006) (Federal Wiretap

Act); Commonwealth v. Moody, 993 N.E.2d 715, 723 (Mass. 2013) (Massachusetts Wiretap Act).

Indeed, a wide range of Internet-based interactions fall within the definition, including the

completion of online forms, see Blumofe, 329 F.3d at 18, and “mouse movements, clicks,

keystrokes and other browsing activity,” Alves v. BJ’s Wholesale Club, Inc., No. 22-2509-BLS1,

2023 Mass. Super. LEXIS 59, at *5 (June 21, 2023). The communications between Four Women

and its patients—including patient submission of personal information and messages exchanged

thereafter—easily meet these definitions.

                       b)     Defendants Intercepted Four Women’s Communications with
                              Its Patients.

       AWHC intercepted Four Women’s communications as defined by both the Federal and the

Massachusetts Wiretap Acts. To constitute an “intercept” under the Federal Wiretap Act, the

acquisition of a communication must be contemporaneous with its transmission. See Boudreau v.

Lussier, 901 F.3d 65, 77 (1st Cir. 2018).       To constitute an “interception” pursuant to the

Massachusetts Wiretap Act, that interception need not be contemporaneous, but it must be “(1)


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secretly made and (2) without prior authority by all parties.” Curtatone v. Barstool Sports, Inc.,

169 N.E.3d 480, 483 (Mass. 2021). Defendants’ interception of Four Women’s communications

was both contemporaneous and secret.

       First, the timing of AWHC’s outreach to prospective Four Women patients reveals that

AWHC intercepted Four Women’s electronic communications contemporaneously. For example,

AWHC called Jane Doe 5 as she was in the middle of messaging Four Women to make her

ultrasound appointment. Nash Decl. Ex. A. AWHC called her before her appointment was even

made. See id. On the phone, it offered Jane Doe 5 an appointment on one of the three days

identified by Four Women via Klara less than 15 minutes prior. See id. Jane Doe 5 had never

previously contacted or communicated with AWHC. Compl. ¶ 107. Having access to her

messages with Four Women was the only means by which AWHC could have obtained her contact

information and known she was pursuing reproductive healthcare services that day. See id.

Likewise, AWHC called Jane Doe 6 within minutes of her making an appointment for a medication

abortion and just two minutes after Four Women sent her a message via Klara. Nash Decl. Ex. B

& C. The proximity in time between Four Women’s communications with Jane Does 5 and 6 and

AWHC’s outreach to those patients demonstrates that the interception of the communications

occurred in real time.

       Second, there can be no doubt Defendants’ interception of Four Women’s electronic

communications was secretly made. Four Women had no knowledge of the interceptions until it

heard from multiple patients who said that they had been contacted by AWHC and that AWHC

had knowledge of the appointments they had recently made with Four Women. Indeed, Four

Women seeks expedited discovery to understand exactly how the interceptions occurred.

Additionally, as described supra, in Section IV(1)(b) in connection with the CFAA claim,




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Defendants accessed Four Women’s Klara or Athena database without authorization. Discovery

is likely to show that Defendants gained unauthorized access to an existing Four Women

employee’s Klara or Athena account and used that access to unlawfully obtain and misuse

information about Four Women patients.

                       c)      Defendants’ Interception of Four Women’s Communications
                               with Its Patients Was Intentional.

       In this context, intentionality is generally defined by what it is not: An interception under

the Federal Wiretap Act is not intentional “if it is the product of inadvertence or mistake.”

Blumofe, 329 F.3d at 23. Courts are more likely to find that an interception is intentional when “it

serves a party’s self-interest to engage in such conduct.” Id. Here, as described supra, in Section

IV(1)(c) in connection with the CFAA claim, there is little doubt—and discovery is likely to

corroborate—that AWHC intentionally intercepted Four Women’s electronic communications to

serve its self-interest, i.e., its mission of preventing women from obtaining reproductive healthcare

services, especially abortion care. Compl. ¶ 4.

                       d)      Defendants Intercepted the Content of Four Women’s
                               Communications with Its Patients.

       Defendants intercepted the “content” of Four Women’s electronic communications with

its patients. The Federal Wiretap Act defines “content” as any information containing the

“substance, purport, or meaning” of the communication. 18 U.S.C. § 2510(8). “This definition

encompasses personally identifiable information such as a party’s name, date of birth, and medical

condition.” Blumofe, 329 F.3d at 18. Similarly, the Massachusetts Wiretap Act defines “contents”

broadly as “any information concerning the identity of the parties to such communication or the

existence, contents, substance, purport, or meaning of that communication.” M.G.L. ch. 272, §

99(B)(5); Rich v. Rich, 28 Mass. L. Rep. 553 (Super. Ct. 2011) (“[T]he term ‘contents’ of a

communication is defined broadly.”).


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       Here, the facts in Four Women’s possession demonstrate that AWHC obtained such

information, including but not limited to the names, medical conditions, and phone numbers of

prospective Four Women patients, through the communications it intercepted. The facts also show

that AWHC acquired the substance of the conversations between Four Women and their patients,

such as the patients’ scheduling of appointments with Four Women, including the date, time, and

nature of such appointments. For example, in their calls with Jane Does 5, 6, and 7, Defendants

indicated that they knew details about the appointment the patient had recently requested from

Four Women, including the nature and/or the date of the appointment. Discovery is likely to

corroborate this evidence already in Four Women’s possession.

                      e)      The Device Used by Defendants Is Covered by the Wiretap Acts.

       The Federal Wiretap Act defines an “electronic, mechanical, or other device” as any device

or apparatus that can be used to intercept a wire, oral, or electronic communication. 18 U.S.C. §

2510(5). The Massachusetts Wiretap Act defines “intercepting device” similarly broadly. M.G.L.

ch. 272, § 99(B)(3) (“any device or apparatus which is capable of transmitting, receiving,

amplifying, or recording a wire or oral communication”).         Massachusetts courts have also

concluded that software code falls under the definition of “an intercepting device.” See Doe v.

Bos. Med. Ctr. Corp., No. 2384CV00326-BLS-1, 2023 Mass. Super. LEXIS 674, at *9 (Sep. 14,

2023) (“[W]here cellphone, tablet, and computer applications and programs, and their interfacing

with the internet, all rely on software for their operation, its use is practically implicit in any

modern electronic communication.”).

       The facts indicate—and discovery is likely to corroborate—that Defendants gained access

to Four Women’s Klara or Athena account using a computer or mobile device connected to the

Internet. See Knapp Aff. ¶ 28. Such a computer or mobile device, as well as the Klara or Athena

platform used thereon, fit squarely under these statutory definitions for device and intercepting


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device. Id. ¶¶ 18, 24 (describing both Klara and Athena as cloud-based “software as a service”

providers).

 V.    Four Women Is Likely to Suffer Irreparable Harm in the Absence of a Preliminary
       Injunction.

       Absent the requested preliminary injunction, Four Women is likely to suffer irreparable

harm in three key respects—to the privacy of Four Women and its patients; to Four Women’s

business and its ability to serve its patients; and to Four Women’s reputation.

       First, AWHC’s interception of Four Women’s communications compromises the privacy

of Four Women and, more critically, its patients. As courts in the First Circuit have explained,

“[i]nvasion of privacy, like injury to reputation, inflicts damage which is both difficult to quantify

and impossible to compensate fully with money damages.” Williams v. Poulos, 801 F. Supp. 867,

874 (D. Me. 1992). Indeed, the wiretapping statutes were enacted “to protect the privacy of wire,

oral and electronic communications,” id. (citing Gelbard v. United States, 408 U.S. 41, 48 (1972)),

and “to ensure that unjustified and overly broad intrusions on rights of privacy were avoided,”

Moody, 993 N.E.2d at 719. Moreover, in the healthcare context, privacy is paramount. As a

licensed healthcare provider, Four Women has a duty to safeguard its patients’ confidential

personal and medical information. Defendants’ hacking into Four Women’s confidential patient-

client communications system to access that confidential information is a gross invasion of Four

Women’s privacy and the privacy of the patients that must be stopped. In the same vein, Four

Women’s requested injunction will require AWHC to refrain from contacting the Jane Does

identified in the Complaint, preventing further harassment of those women.

       Second, AWHC’s misuse of the intercepted communications jeopardizes Four Women’s

business and its ability to serve its patients. Defendants have used the information they obtained

via unauthorized access to Four Women’s confidential patient-client communications system to



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prevent patients from attending the appointments they scheduled with Four Women—in some

cases by hijacking the potential appointment, and in other cases by leading patients to believe their

existing appointment with Four Women had been cancelled. See, e.g., Nash Decl. Exs. A (Jane

Doe 5 screen shot of Klara messages) & D (Jane Doe 6 complaint form). Defendants’ conduct has

interfered with Four Women’s operation of its business and its mission to ensure that all women

have access to high quality reproductive healthcare, including abortion care. See Compl. ¶ 24; Cf.

BTU Ventures, 2009 U.S. Dist. LEXIS 148814, at *4 (“Defendant’s unauthorized possession of

Plaintiffs’ proprietary information . . . seriously jeopardizes Plaintiffs’ good will and bargaining

position, and damages would most likely not redress any resulting harm should Defendant release

this information to Plaintiffs’ competitors.”).

       Third, AWHC’s misuse of the intercepted communications threatens Four Women’s

reputation. On multiple occasions, AWHC conveyed to Four Women patients that it was Four

Women, damaging Four Women’s reputation as a fully licensed surgery center with experienced

medical staff that provides a range of reproductive healthcare services, including abortion care—

the antithesis of AWHC. “By its very nature injury to goodwill and reputation is not easily

measured or fully compensable in damages. Accordingly, this kind of harm is often held to be

irreparable.” Ross-Simons of Warwick, Inc. v. Baccarat, Inc., 102 F.3d 12, 20 (1st Cir. 1996).

       Finally, Four Women is only aware of the incidents outlined in the Complaint from women

who ultimately make it to Four Women for appointments and inform Four Women of AWHC’s

actions. Four Women reasonably believes there are women for whom AWHC’s conduct has

prevented their access to Four Women altogether, further indication of harm absent an injunction.




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VI.    The Harm to Four Women Outweighs Any Harm That Granting the Requested
       Injunction Would Inflict on Defendants.

       The irreparable harm that Four Women will suffer if the Court does not issue an injunction

greatly outweighs any harm to Defendants if the Court does issue an injunction. If the requested

injunction is not issued, Defendants will continue to infiltrate Four Women’s confidential patient-

client communications system, enabling them to further misuse that information. See Phillips

Med. Sys. P.R., 203 F. Supp. 3d at 239 (finding, in connection with CFAA claim, that where

defendants were not entitled to access information owned by plaintiff, balance of equites tipped in

favor of granting injunction). Notably, the requested injunction does not seek to prevent AWHC

from continuing its services (although it is unlicensed—an issue raised in this lawsuit but not

specifically at issue in this motion); it simply must refrain from intercepting communications to

which it is not entitled and from misusing that information.

VII.   The Public Interest Will Be Served by Granting the Requested Injunction.

       Finally, this factor, too tips in Four Women’s favor. The requested injunction will ensure

that the public interest in protecting Massachusetts citizens against invasions of their privacy and

misuse of their confidential information is upheld. See Williams, 801 F. Supp. at 875 (“There is

strong public interest in protecting the privacy and security of communications in a society so

heavily dependent on inf[o]rmation.”); Moody, 993 N.E.2d at 718 (discussing Congress’s

“overriding need [in enacting the Federal Wiretap Act] to safeguard the privacy of innocent

persons”) (cleaned up). In the healthcare context, patient privacy is paramount—a policy point

that is reflected in both federal and state laws protecting such privacy.

       The requested injunction will also ensure that Massachusetts citizens are not deprived of

their constitutional and statutory right to access reproductive health care services. M.G.L. ch. 12,

§ 11I 1/2 (“Access to reproductive health care services . . . is a right secured by the constitution



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and laws of the commonwealth.”). Defendants’ use of technology to interfere with Four Women’s

business operations has both the purpose and effect of delaying if not altogether preventing women

from accessing the reproductive healthcare they seek. Defendants’ conduct thus not only interferes

with Four Women’s ability to provide the reproductive healthcare secured by the Massachusetts

constitution, but also countless women seeking this care.

                                        CONCLUSION

       For the foregoing reasons, Four Women respectfully requests that this Court grant its

motion for a preliminary injunction and order Defendants to cease and refrain from infiltrating

Four Women’s electronic platforms, intercepting communications between Four Women and its

patients, and using unlawfully obtained information to contact such patients.




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DATED: September 5, 2024            Four Women Health Services, LLC,

                                    By its attorneys,



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                               CERTIFICATE OF SERVICE

       I, Matthew Patton, hereby certify that on September 5, 2024, I served the within document
on Defendants at the following addresses:


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                                                   /s/ Matthew Patton
                                                   Matthew Patton




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